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                                                                       Pg 1 of 29
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
     Southern District
     __________        of New
                 District     York
                          of __________

     Case number (If known): _________________________ Chapter you are filing under:
                                                            Chapter 7
                                                            Chapter 11
                                                            Chapter 12
                                                           ✔ Chapter 13
                                                                                                                       Check if this is an
                                                                                                                          amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                         About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
                                         Desiree
                                         __________________________________________________       __________________________________________________
       government-issued picture
                                         First name                                               First name
       identification (for example,
       your driver’s license or          Faith
                                         __________________________________________________       __________________________________________________
       passport).                        Middle name                                              Middle name

       Bring your picture                Hodge
                                         __________________________________________________       __________________________________________________
       identification to your meeting    Last name                                                Last name
       with the trustee.                 ___________________________                              ___________________________
                                         Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)




2.     All other names you               Desiree
                                         __________________________________________________       __________________________________________________
       have used in the last 8           First name                                               First name
       years                             Faith
                                         __________________________________________________       __________________________________________________
       Include your married or           Middle name                                              Middle name
       maiden names.                     Richards
                                         __________________________________________________       __________________________________________________
                                         Last name                                                Last name

                                         __________________________________________________       __________________________________________________
                                         First name                                               First name

                                         __________________________________________________       __________________________________________________
                                         Middle name                                              Middle name

                                         __________________________________________________       __________________________________________________
                                         Last name                                                Last name




3.     Only the last 4 digits of
       your Social Security              xxx             7 ____
                                                – xx – ____  6 ____
                                                                9 ____
                                                                    9                            xxx    – xx – ____ ____ ____ ____
       number or federal                 OR                                                      OR
       Individual Taxpayer
       Identification number             9 xx – xx – ____ ____ ____ ____                         9 xx – xx – ____ ____ ____ ____
       (ITIN)

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Debtor 1      Desiree      Faith            Hodge
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                          Chapter 7
                                          Chapter 11
                                          Chapter 12
                                         
                                         ✔ Chapter 13


8.    How you will pay the fee           
                                         ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                 
                                         ✔ No
      bankruptcy within the
      last 8 years?                       Yes.    District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY



10.   Are any bankruptcy                 
                                         ✔ No
      cases pending or being
      filed by a spouse who is            Yes.    Debtor _________________________________________________ Relationship to you       _____________________
      not filing this case with                    District __________________________ When      _______________ Case number, if known____________________
      you, or by a business                                                                      MM / DD / YYYY
      partner, or by an
      affiliate?
                                                   Debtor _________________________________________________ Relationship to you       _____________________

                                                   District __________________________ When      _______________ Case number, if known____________________
                                                                                                 MM / DD / YYYY



11.   Do you rent your                   ✔ No.
                                                  Go to line 12.
      residence?                          Yes.    Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                   residence?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.



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Debtor 1         Desiree Faith                            Hodge
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                 No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
                                                ✔
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


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Debtor 1         Desiree Faith                         Hodge
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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                                                                               Pg 8 of 29
Fill in this information to identify your case and this filing:


Debtor 1          Desiree                 Faith                 Hodge
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        __________
United States Bankruptcy Court for the: Southern District of New
                                                     District      York
                                                              of ___________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    ✔
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                  Single-family home                              the amount of any secured claims on Schedule D:
           763 Beck Street                                                                                         Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  Duplex or multi-unit building
                                                                  Condominium or cooperative                      Current value of the     Current value of the
                                                                  Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
                                                                  Land                                                  550,000.00
                                                                                                                   $________________             550,000.00
                                                                                                                                            $_______________
                                                                  Investment property
             Bronx                   NY 10455
             _________________________________________
             City                    State   ZIP Code
                                                                  Timeshare                                       Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                 
                                                                 ✔ Other __________________________________
                                                                         Multi-Family
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   fee simple
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                                                 Block 2708 Lot 58
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                   Single-family home                             the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                   Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                   Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                   Land                                           $________________        $_________________
                                                                   Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                   Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                   Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
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               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                       550,000.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   ✔No
    Yes

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                                                                                                               0.00
           See, Business Truck below                              Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
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                 _______________________________________________________                              of 29    Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                               0.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
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Debtor 1          Desiree                 Faith                 HodgePg 11
                   _______________________________________________________                                      of 29    Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   ✔    Yes. Describe. ........         Appliances, refrigarators, stoves, cabinets, linens, dishes, cutlery, etc.,                                                                                        5,000.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   ✔    Yes. Describe. .........         Flat screen TVs, DVDs, computer, printer, music collections, cell phones,                                                                                        10,000.00
                                                                                                                                                                                                $___________________
                                         cameras, media players and games
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔  No
     Yes. Describe. ..........                                                                                                                                                                 $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   ✔    Yes. Describe. .......... Everyday                  clothes, leather jackets, undergarments and shoes                                                                                              3,000.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   ✔    No
       Yes. Describe. ..........                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                             18,000.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
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Debtor 1         Desiree                 Faith                 HodgePg 12
                  _______________________________________________________                                                  of 29    Case number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 ✔     Yes ................................................................................................................................................................    Cash: .......................              2,000.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     16. cash is safe deposit box
                                                                                               _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   ✔ No                                     Name of entity:                                                                                                                     % of ownership:
   Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                          page 5
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Debtor 1        Desiree                Faith                 Hodge Pg 13
                 _______________________________________________________                        of 29    Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________                 $__________________
                                        ______________________________________________________________________________________
                                                                                                                                               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔   No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________          $__________________

                                        Pension plan:             ___________________________________________________________________          $__________________

                                        IRA:                      ___________________________________________________________________          $__________________

                                        Retirement account:       ___________________________________________________________________          $__________________

                                        Keogh:                    ___________________________________________________________________          $__________________

                                        Additional account:       ___________________________________________________________________          $__________________

                                        Additional account:       ___________________________________________________________________          $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________           $___________________
                                        Gas:                  ______________________________________________________________________           $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                               $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                               $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                               $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                               $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                               $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                               $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                               $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________               $__________________
                                        _______________________________________________________________________________________                $__________________
                                        _______________________________________________________________________________________                $__________________


Official Form 106A/B                                                       Schedule A/B: Property                                                         page 6
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                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
   
   ✔   Yes. Give specific information. .............          Daughter support $ 600.00 (month)
                                                                                                                            Alimony:                   $________________
                                                              Son's support $600.00 (month)
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                          14,400.00
                                                                                                                                                       $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No
   
   ✔   Yes. Give specific information. ..............        Social security benefits $550.00 (month)
                                                                                                                                                                    6,600.00
                                                                                                                                                       $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                page 7
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                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                23,000.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned


 ✔      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   ✔    No
       Yes. Describe .......                                                                                                                                                                  $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 8
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Debtor 1         Desiree                Faith                 Hodge Pg 16
                  _______________________________________________________                                       of 29    Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ✔ No
   
    Yes. Describe .......                                                                                                                                                                     $_____________________


41. Inventory
   
   ✔ No
    Yes. Describe .......                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   ✔ No
    Yes. Describe .......               Name of entity:                                                                                                           % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
 
 ✔ No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
         No
         Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
    No
   
   ✔ Yes. Give specific Nisson UB Truck, listed above 2004 UD Box
                        ______________________________________________________________________________________                                                                                             12,000.00
                                                                                                                                                                                                $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                             12,000.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 9
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 Debtor 1           Desiree                 Faith                 HodgePg 17
                     _______________________________________________________                                         of 29    Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 
                                                                                                                                                                                                                        0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. 
                                                                                                                                                                                                                550,000.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                              0.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15
                                                                                                                         18,000.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36
                                                                                                                         23,000.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45
                                                                                                                         12,000.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52
                                                                                                                              0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
                                                                                                                         53,000.00 Copy personal property total                                                  53,000.00
62. Total personal property. Add lines 56 through 61. ....................                                        $________________                                                                      + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................
                                                                                                                                                                                                                 603,000.00
                                                                                                                                                                                                          $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   page 10
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Fill in this information to identify your case:

 Debtor 1          Desiree                 Faith                 Hodge
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Southern District
                                         __________        of New
                                                      District      York
                                                               of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             611,480.00 $________________
                                                                                                                                               550,000.00 $____________
                                                                                                                                                             61,480.00
      CIT Bank
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
      75 North Fair Oaks Avenue                           763 Beck Street, Bronx, NY 10455
      ______________________________________
      Number            Street

      Pasadena              CA 91103                       As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code         
                                                           ✔    Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
  
  ✔     At least one of the debtors and another                Judgment lien from a lawsuit
                                                           
                                                           ✔                                        Fraud lien
                                                                Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
                           11/30/2005
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code             Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
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                Desiree                 Faith                 HodgePg 19 of 29
Debtor 1         _______________________________________________________       Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                             Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                    Do not deduct the
             by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                        Contingent
   ______________________________________               Unliquidated
   City                         State    ZIP Code
                                                        Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
     Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit

     Check if this claim relates to a
                                                        Other (including a right to offset) ____________________
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                   $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.
   ______________________________________               Contingent
   City                         State    ZIP Code       Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
                                                        Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.
           Write that number here:                                                                                  $_________________

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
           17-11935-cgm              Doc 2  Filed 07/17/17 Entered 07/17/17 10:44:14 Main Document
             Desiree                 Faith                 HodgePg 20 of 29
Debtor 1      _______________________________________________________       Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
           17-11935-cgm                 Doc 2        Filed 07/17/17 Entered 07/17/17 10:44:14                             Main Document
                                                                   Pg 21 of 29
 Fill in this information to identify your case:

 Debtor               Desiree                 Faith                 Hodge
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Southern District
                                         __________ Districtof
                                                             of New York
                                                                ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
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              Desiree                Faith                 Hodge Pg 22 of 29
 Debtor 1      _______________________________________________________       Case number (if known)_____________________________________
               First Name   Middle Name       Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                What the contract or lease is for

    2
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code



Official Form 106G                        Schedule G: Executory Contracts and Unexpired Leases                            page ___ of ___
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                                                                          Pg 23 of 29
 Fill in this information to identify your case:

 Debtor 1          Desiree                 Faith                 Hodge
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: Southern District
                                         __________ Districtof
                                                             of New York
                                                                ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
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 Debtor 1        Desiree                 Faith                 HodgePg 24
                  _______________________________________________________
                                                                             of 29    Case number (if known)_____________________________________
                  First Name     Middle Name     Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                    Schedule G, line ______
        ________________________________________________________________________________
        City                                          State                   ZIP Code




Official Form 106H                                            Schedule H: Your Codebtors                                          page ___ of ___
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                                                                 Pg 25 of 29
 Fill in this information to identify your case:


 Debtor 1           Desiree                Faith                 Hodge
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Southern District
                                         __________        of New
                                                      District      York
                                                               of ___________

 Case number         ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
Official Form 106I                                                                                     ________________
                                                                                                       MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                        ✔ Employed                                    ✔
    information about additional         Employment status                                                              Employed
    employers.                                                          Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                  Retailer
                                                                     __________________________________ Scrap Metal Collection
                                                                                                        __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             Self-emplyed
                                                                     __________________________________          Self-employed
                                                                                                                 __________________________________


                                         Employer’s address          763 Beck Street
                                                                     _______________________________________     763 Beck Street
                                                                                                                ________________________________________
                                                                      Number Street                              Number    Street

                                                                     _______________________________________    ________________________________________

                                                                     _______________________________________    ________________________________________

                                                                      Bronx                NY      10455
                                                                     _______________________________________     Bronx                NY       10455
                                                                                                                ________________________________________
                                                                      City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?         5_______                                 _______
                                                                                                                   5

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       1,000.00                   3,800.00
                                                                                              $___________              $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.       1,250.00
                                                                                              $__________                   3,800.00
                                                                                                                        $____________




Official Form 106I                                               Schedule I: Your Income                                                      page 1
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                                                                             Pg 26 of 29
Debtor 1         Desiree                 Faith                Hodge
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here...............................................................................................  4.         1,000.00
                                                                                                                            $___________                 3,800.00
                                                                                                                                                    $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________            $_____________
     5e. Insurance                                                                                                 5e.     $____________                   300.00
                                                                                                                                                    $_____________
     5f. Domestic support obligations                                                                              5f.     $____________            $_____________

     5g. Union dues                                                                                                5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.         1,000.00
                                                                                                                           $____________                 3,500.00
                                                                                                                                                    $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                               1,200.00
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________            $_____________
     8e. Social Security                                                                                           8e.           550.00
                                                                                                                           $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

     8g. Pension or retirement income                                                                              8g.     $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         2,750.00
                                                                                                                           $____________                 3,500.00
                                                                                                                                                    $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                               2,750.00
                                                                                                                           $___________     +            3,500.00
                                                                                                                                                    $_____________     =        6,250.00
                                                                                                                                                                           $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                                6,250.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
     
     ✔     Yes. Explain:
                               Debtor has been ill and expects her health to improve. Non-filing debtor expects to increase business.


Official Form 106I                                                                  Schedule I: Your Income                                                                  page 2
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                                                                     Pg 27 of 29
   Fill in this information to identify your case:

   Debtor 1         Desiree                 Faith                  Hodge
                    __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: __________
                                           __________ District
                                                      District ofof__________
                                                                    __________                                      expenses as of the following date:
                                                                                                                    ________________
   Case number         ___________________________________________                                                  MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                 
                 ✔    No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  ✔ No
                                                                                            Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                  Yes. Fill out this information for            Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                                        No
                                                                                             _________________________                ________
    names.                                                                                                                                              Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include                 ✔
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     1,500.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.                    200.00
                                                                                                                                        $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.                    400.00
                                                                                                                                        $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.     $_____________________

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                  _______________________________________________________                  Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                    200.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                     80.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                     70.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     $_____________________

 7. Food and housekeeping supplies                                                                            7.                     400.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                  8.      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     150.00
                                                                                                                      $_____________________
10. Personal care products and services                                                                       10.                    100.00
                                                                                                                      $_____________________
11. Medical and dental expenses                                                                               11.                    500.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                     150.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     $_____________________
14.   Charitable contributions and religious donations                                                        14.     $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    $_____________________
      15b. Health insurance                                                                                   15b.    $_____________________
      15c. Vehicle insurance                                                                                  15c.    $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.
                                                                                                                                     300.00
                                                                                                                      $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.    $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.    $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    $_____________________

      20b. Real estate taxes                                                                                  20b.    $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    $_____________________



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                  _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.     $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  4,150.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                        7,500.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.   – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                        3,350.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:
                                    Mortgage may increase. This is an estimate. Other expenses may change. Income may
                                    fluctuate. Apartments may be rented.




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